            Case 3:17-cv-05769-RJB Document 160 Filed 03/20/19 Page 1 of 3



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2                                                                         The Honorable Robert J. Bryan

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7                               IN THE UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
8                                           AT SEATTLE

9     UGOCHUKWU GOODLUCK NWAUZOR,                            Case No. 3:17-cv-05769-RJB
      FERNANDO AGUIRRE-URBINA, individually
10    and on behalf of all those similarly situated,         ORDER ON DEFENDANT/COUNTER
                                                             CLAIMANT’S UNOPPOSED MOTION
11                   Plaintiffs/Counter Defendants,          TO WAIVE GEOGRAPHIC
                                                             REQUIREMENT IN LCR 83.1
12           v.

13    THE GEO GROUP, INC.,

14                  Defendant/Counter Claimant

15
            THIS MATTER has come before the Court on Defendant/Counter Claimant’s Unopposed
16
     Motion to Waive Geographic Requirement in LCR 83.1. The Court has reviewed the motion and,
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     deeming that good cause exists, GRANTS the motion. The Court hereby waives the geographic
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     requirement for local counsel in LCR 83.1(d)(2), and orders that J. Matthew Donohue, Shannon
19
     Armstrong, and Kristin Asai may serve as local counsel in this matter and file pro hac vice
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     applications under LCR 83.1(d).
21
            IT IS SO ORDERED.
22
            Dated this 20th day of March, 2019.
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                                          A
                                          ROBERT J. BRYAN
                                          United States District Judge
26

      PAGE 1 – ORDER ON DEFENDANT/COUNTER                                  HOLLAND & KNIGHT LLP
                                                                              2300 US Bancorp Tower
      CLAIMANT’S UNOPPOSED MOTION TO WAIVE                                      111 SW Fifth Avenue
      GEOGRAPHIC REQUIREMENT IN LCR 83.1 (3:17-CV-                               Portland, OR 97204
                                                                              Telephone: 503.243.2300
      05769-RJB)
           Case 3:17-cv-05769-RJB Document 160 Filed 03/20/19 Page 2 of 3



1     Presented by:
2
       s/ Shannon Armstrong
3     Shannon Armstrong, WSBA #45947
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5     111 SW Fifth Avenue
      Portland, OR 97204
6     Telephone: 503.243.2300
7     Attorney for Defendant/Counter Claimant
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     PAGE 2 – ORDER ON DEFENDANT/COUNTER                    HOLLAND & KNIGHT LLP
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     05769-RJB)
         Case 3:17-cv-05769-RJB Document 160 Filed 03/20/19 Page 3 of 3



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                                                     HOLLAND & KNIGHT LLP
                                                       2300 US Bancorp Tower
                                                         111 SW Fifth Avenue
     CERTIFICATE OF SERVICE – PAGE 1                      Portland, OR 97204
                                                       Telephone: 503.243.2300
